                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 BRIAN L. POSLEY, SR.                              )
                                                   )
        A.K.A. BRIAN POSLEY                        )
                                                   )
 v.                                                )            1:12-cv-47/1:11-cr-17
                                                   )           Judge Curtis L. Collier
 UNITED STATES OF AMERICA                          )

                                         MEMORANDUM

        Brian L. Posley, Sr., a.k.a. Brian Posley (“Posley”) filed a pro se motion to vacate, set aside,

 or correct his sentence pursuant to 28 U.S.C. § 2255 (Criminal Court File No. 210).1 Posley did not

 raise any claims attacking his conviction or sentence. Rather, he complained about his lack of

 medical care, his conditions of confinement, and requested the Court to modify his sentence based

 on his medical condition and to enable him to care for his family.

        Because Posley did not raise a single claim attacking his conviction or sentence or set forth

 any specific facts to support a claim, in violation of Rule 2 of the Rules Governing Section 2255

 Proceeding for the United States District Courts, the Court concluded Posley’s § 2255 motion was

 insufficient to raise an issue for review and invited Posley to file an amended § 2255 motion which

 complied with Rule 2 within thirty days from the date of the Court’s Order.2 The Court’s August



        1
               Each document will be identified by the Court File Number assigned to it in the
 underlying criminal case.
        2
                Because the Court discerned Posely was claiming, inter alia, he was denied medical
 care, the Clerk was directed to send him a civil rights form complaint. In addition, to the extent
 Posley was requesting the Court to modify his sentence under 18 U.S.C. § 3582(c), which permits
 modifications only upon motion of the Bureau of Prisons (“BOP”), his motion was denied as the
 BOP had not filed a motion. Lastly, the Court denied relief to modify his sentence under any other
 section of 18 U.S.C. § 3582 for failure to demonstrate any of the other exceptions were present in
 his case.


Case 1:11-cr-00017-TRM-CHS            Document 249         Filed 10/09/12      Page 1 of 2       PageID
                                            #: 791
 17, 2012, Order specifically directed Posley to file an amended motion or show cause why his

 § 2255 motion should not be dismissed (Criminal Court File No. 248). The Order also forewarned

 Posley that his failure to file an amended § 2255 motion would result in the dismissal of his § 2255

 motion (Criminal Court File No. 248).

        Rule 41(a)(2) of the Federal Rules of Civil Procedure provides for involuntary dismissal for

 failure to prosecute or comply with a court order. Posley has failed to return a sufficient motion or

 file any type of response to the Court’s order. Therefore, this action will be DISMISSED

 WITHOUT PREJUDICE sua sponte for failure to comply with the orders of this Court and this

 case will be closed .3 Fed. R. Civ. P. 41(b); Jourdan v. Jabe, 951 F.2d 108 (6th Cir. 1991).

        SO ORDERED.

        ENTER:

                                                /s/
                                                CURTIS L. COLLIER
                                                UNITED STATES DISTRICT JUDGE




        3
                 Because it appears that Posley intended to file a motion to modify his sentence
 pursuant to 18 U.S.C. § 3582(c), which the Court denied in its previous Order, rather than a § 2255
 motion since the motion did not contain a single claim attacking his conviction or sentence, and it
 appears that his one year statute of limitations for filing a § 2255 motion will not expire for another
 few weeks, the Court generously will dismiss the motion without prejudice.

                                                   2


Case 1:11-cr-00017-TRM-CHS            Document 249         Filed 10/09/12       Page 2 of 2      PageID
                                            #: 792
